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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 8 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 10 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 11 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 12 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 13 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 14 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 15 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 16 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 17 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 18 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 19 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 22 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 23 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 24 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 25 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 26 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 27 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 28 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 29 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 30 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 31 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 32 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 33 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 34 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 35 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 36 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 37 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 38 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 39 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 40 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 41 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 42 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 43 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 44 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 45 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 46 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 47 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 48 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 49 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 50 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 53 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 54 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 55 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 56 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 57 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 58 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 59 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 60 of 61 Trans ID: LCV202048740
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      CAM-L-000120-20 01/08/2020 2:47:07 PM Pg 61 of 61 Trans ID: LCV202048740
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